Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07. Page 1 of 15 PagelD 70

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
JULIE TILTON,
NICOLE BREITFELLER, and
TABITHA GAUTREAUX,
Plaintiffs, CASE NO.: 8:07-cv-432-T-30MAP

VS.

JOSEPH R. FRANCIS, MRA HOLDINGS, L.L.C.,
MANTRA FILMS, INC., d/b/a Girls Gone Wild,
AMX PRODUCTIONS, L.L.C., d/b/a AMX Video
a/k/a Action Matrix, a/k/a Aztec Media Co., and
SVOTHI, INC., d/b/a PPVNetworks

a/k/a Nakedontv.com,

Defendants.

ANSWER, DEFENSES AND CROSS-CLAIM
OF SVOTHL INC,

COMES NOW, the Defendant, SVOTHI, INC., by and through its undersigned

attorneys, and hereby files its Answer, Defenses and Cross-Claim, and states as follows:

ANSWER
Defendant responds as follows to the correspondingly numbered paragraphs of
Plaintiffs’ Complaint:
1. Without knowledge.
2, Without knowledge.

3. Without knowledge. .
Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07 Page 2 of 15 PagelD 71

4, Admitted with the exception that Defendant is without knowledge as to
whether AMX Productions does business in Florida.

5, Admitted.

6. Admitted for jurisdictional purposes only.

7. Denied that this Court has personal jurisdiction over this Defendant.
Otherwise without knowledge.

8. Without knowledge.

9. Denied.

10. Without knowledge.

11. Without knowledge.

12. Without knowledge.

13. Without knowledge.

14. Without knowledge.

15. Without knowledge.

16. Without knowledge.

17. ~— Denied.

18. Without knowledge.

19. Without knowledge.

20. Without knowledge.

21. Without knowledge. Denied that Defendant has any obligation to pay the
Plaintiffs’ attorney’s fees.

22, Denied.

Page 2 of 13
Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07. Page 3 of 15 PagelD 72

COUNT 1
23 - 36 Paragraphs 23 through 36 are not directed to Defendant SVOTHE INC.
To the extent a response is required, Defendant denies the allegations.
COUNT 2
37-43 Paragraphs 37 through 43 are not directed to Defendant SVOTHI, INC.
To the extent a response is required, Defendant denies the allegations.
COUNT 3
44-53 Paragraphs 44 through 53 are not directed to Defendant SVOTHE INC.
To the extent a response is required, Defendant denies the allegations.
COUNT 4
54-70 Paragraphs 54 through 70 are not directed to Defendant SVOTHI, INC.
To the extent a response is required, Defendant denies the allegations.
COUNT 5
n - 82 Paragraphs 71 through 82 are not directed to Defendant SVOTHI, INC.
To the extent a response is required, Defendant denies the allegations.
COUNT 6
83-91 Paragraphs 83 through 91 are not directed to Defendant SVOTHI, INC.
To the extent a response is required, Defendant denies the allegations.
COUNT 7
92. Defendant SVOTHI, INC. incorporates it answers to paragraphs | through 22
and 25 through 34 as if set forth fully herein.
93. Admitted for jurisdictional purposes only.
94. Denied.

Page 3 of 13
Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07. Page 4 of 15 PagelD 73

95. Admitted that AMX utilized the nakedontv website to advertise videos,
Without knowledge as to the content of those videos or whether those videos depicted the

Plaintiffs. Otherwise denied.

96. Denied.
97. Denied,
98. Denied.
99. Denied.
100. Denied.
101. Denied.

COUNT 8
102. Defendant SVOTHI, INC. incorporates it answers to paragraphs 1 through
22 and 25 through 34 as if set forth fully herein.
103. Admitted for jurisdictional purposes only.
104. Denied.
105. Admitted that AMX utilized the nakedontv website to advertise videos.
Without knowledge as to the content of those videos or whether those videos depicted the

Plaintiffs. Otherwise denied.

106. Denied.
107. Denied.
108. Denied.
109. Denied.
110. Denied.
111. Denied.

Page 4 of 13
Case 8:07-cv-00432-JSM-MAP Document11_ Filed 05/29/07. Page 5 of 15 PagelD 74

112. Denied.
113. Denied.
COUNT 9
114. Defendant SVOTHI, INC. incorporates it answers to paragraphs 1 through
22 and 25 through 34 as if set forth fully herein.

115. Admitted for jurisdictional purposes only.

116. Denied
117, Denied.
118. Denied.

119. Without knowledge.

120. Admitted that AMX utilized the nakedontv website to advertise videos.
Without knowledge as to the content of those videos or whether those videos depicted the
Plaintiffs. Otherwise denied.

121, Denied.

122, Denied.

123. Denied. SVOTHI was advised that AMX videos were not pornographic

and that those videos were not subject to the record-keeping requirements of 18 U.S.C.

§2257,
124. Denied.
125. Denied.
126. Denied.
127. Denied.

Page 5 of 13
Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07. Page 6 of 15 PagelD 75

AFFIRMATIVE DEFENSES

FIRST DEFENSE
(Immunity Under CDA)

SVOTHI, INC. is immune from suit pursuant to 47 U.S.C. §230(c)(1) as it is an
“fnteractive computer service” (ISP) which does not create content, but merely allows

Internet access to information provided by another information content provider.

SECOND DEFENSE
(§18 U.S.C. §2252A(a) is Unconstitutional)

Plaintiffs seck damages for “violations of 18 U.S.C.A. 2252A(a)”. However, the
relevant portions of 18 U.S.C. 2252A(a) have been declared unconstitutional in this

Circuit. See, U.S. v. Williams, 444 F.3d 1286, 1298 (11th Cir. 2006).

THIRD DEFENSE

(Defendant is not a “Producer”)

SVOTHI, INC. is not required to obtain, maintain or disclose age verification
information pursuant to 18 U.S.C. §2257 as it is not a “producer” as defined in that

statute or the relevant Federal regulations.

FOURTH DEFENSE
(18 U.S.C. §2257 is Unconstitutional as Applied to Defendant)

The United States has been enjoined from enforcing 18 U.S.C. §2257 against

secondary producers. See, Free Speech Coalition v. Gonzales, 406 F.Supp.2d 1196,

1211 (D.Colo. 2005), To the extent that SVOTHI, INC. can be categorized as a secondary

Page 6 of 13 ©
Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07 Page 7 of 15 PagelD 76

producer, 18 U.S.C. §2257, and the associated regulations, are unconstitutional as applied

against it.

FIFTH DEFENSE
(No Predicate Offense — No Distribution)

SVOTHI, INC. did not produce, ship, transport, mail or distribute any videos or
video materials including depictions of any of the Plaintiffs. Accordingly, there is no
predicate offense which would give rise to liability under 18 U.S.C. §2252, 18 U.S.C.

§2252A, 18 U.S.C. $2255 or 18 U.S.C, §1466A,

SIXTH DEFENSE
(No Predicate Offense — No Sexually Explicit Conduct)

The depictions of the Plaintiffs are not sexually explicit as defined by §18 U.S.C.
§2256(a). Accordingly, there is no predicate offense which would give rise to liability

under 18 U.S.C. §2252, 18 U.S.C. §2252A, 18 U.S.C. §2255 or 18 U.S.C. §1466A.

SEVENTH DEFENSE
(No Predicate Offense — No Obscenity or Graphic Sexual Acts)

The depictions of the Plaintiffs are not obscene under the Miller standard nor do
they include graphic depictions of those acts specified in 18 U.S.C. 1466A(a)(2)(A).
Accordingly, there is no predicate offense which would give rise to liability under 18

U.S.C. §1466A.

Page 7 of 13
Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07. Page 8 of 15 PagelD 77

EIGHTH DEFENSE
(No Predicate Offense — No Knowledge of Age)

SVOTHI, INC. has no actual knowledge of the age of performers in videos
distributed by the other Defendants, nor did SVOTHI, INC. have any reasonable
opportunity to discover the age of the performers. Likewise SVOTHI, INC. did not act in
reckless disregard of its obligations under the law as it had no reason to believe that any

of the Defendants would produce or distribute materials including depictions of minors.

NINTH DEFENSE
(Reasonable Reliance on 18 U.S.C. §2257 Age Verification Disclosures)

SVOTHI, INC. has the right to reasonably rely on the 18 U.S.C. 2257 record
keeping disclosures included in materials produced by others. Those record keeping
disclosures assure SVOTHI that no persons under the age of 18 are depicted in sexually

explicit acts.

TENTH DEFENSE

(Reasonable Reliance on Representations by Vendor)

SVOTHI, INC. has the right to reasonably rely on the express representations of
AMX PRODUCTIONS, L.L.C. that the videos in questions were not pornographic and

did not feature performances by minors.

ELEVENTH DEFENSE

(Contributory Negligence)

Plaintiffs’ own negligent and intentional actions were the sole cause or a

contributing cause of their damages, if any, and Plaintiffs’ damages should be reduced by

Page 8 of 13
Case 8:07-cv-00432-JSM-MAP Document 11 __ Filed 05/29/07 Page 9 of 15 PagelD 78

their comparative fault.

TWELFTH DEFENSE

(Superceding Cause)

The intentional actions of third parties who produced and distributed the video
images are the sole legal cause of the Plaintiffs’ damages and those actions supercede any

conduct or negligence on the part of SVOTHI, INC.

THIRTEENTH DEFENSE
(Allocation of Liability Among Joint Tortfeasors)

The intentional actions or negligent acts of the other Defendants are the sole legal
and proximate cause of Plaintiffs’ damages and any recovery should be allocated among

and between the joint tortfeasors in accordance with their relative fault.

FOURTEENTH DEFENSE

(No Proximate Causation)
SVOTHI, INC. is not the proximate cause of any damages suffered by the
Plaintiffs. In particular, SVOTHI, INC. did not film the Plaintiffs, did not produce the
video images in question and did not ship, transport, mail or distribute any videos or

video materials pertaining to the Plaintiffs.

FIFTEENTH DEFENSE
(Statute of Limitations)

Plaintiffs’ action is barred in whole or in part by the applicable statute of

Hmitations.

Page 9 of 13
Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07. Page 10 of 15 PagelD 79

SIXTEENTH DEFENSE
(Laches)

Plaintiffs’ action is barred by laches and equitable estoppel because they failed to

bring this action within a reasonable time, to the detriment of SVOTHI, INC.

CROSSCLAIM

COMES NOW the Defendant/Cross-Plaintiff, SVOTHI, INC., and hereby sues
the Cross-Defendant, AMX PRODUCTIONS, L.L.C., and says:

], Plaintiffs maintain that this Court has subject matter jurisdiction over the
underlying cause of action pursuant to 28 U.S.C. 1331 and 18 U.S.C. §2255(a).

2. This Court has supplemental jurisdiction over Cross-Plaintiff’s state law
claims pursuant to 28 U.S.C. §1367 where Federal jurisdiction is otherwise properly
invoked.

3. Cross-Plaintiff, SVOTHI, INC. (hereinafter referred to as “SVOTHI”) is a
New York corporation.

4. Cross-Defendant AMX PRODUCTIONS, LLC. (hereinafter referred to
as “AMX’”) is a Colorado limited liability company.

5. On or about August 28, 2001, the parties entered into a written
arrangement whereby SVOTHI agreed to design and maintain a website or Internet portal
for AMX to showcase products sold by AMX. A copy of the agreement is attached as
Exhibit “A” to this Cross-Claim.

6 The said agreement has automatically renewed from year to year and

remains in effect between the parties.

Page 10 of 13
Case 8:07-cv-00432-JSM-MAP Documenti11_ Filed 05/29/07 Page 11 of 15 PagelD 80

7. Paragraph 1 of the agreement provides that AMX is solely responsible for
the content of the website:

1. Studio shall have, all interest in, responsibility for, and
ownership of, the Studios’s (sic) Content. SVOTHI assumes no
responsibility for the Studio’s Content or the services offered by Studio
through use of the Service. Any content, material, message or date made
available or transmitted through the Service, wherever it is sent from,
viewed, received, or retrieved, that is in violation of any local, state,
federal or international law, regulation or treaty; or any accepted
community standard or internet policy is prohibited. This includes, but is
not limited to actions such as misuse of copyrighted materials,
misappropriation of trade secrets and other distinguishing marks and use
of the Service for defamatory, threatening, obscene or other unlawful
purposes.

9. Pursuant to the parties’ contract, AMX provided certain content which was
posted on the website designed by SVOTHI.

10. SVOTHI received orders for AMX products and content through the
website and forwarded those orders to AMX. SVOTHI did not itself service or fulfill any
of these orders.

11. SVOTHI did not ship or distribute any of the AMX products or content
directly. Rather inventory, shipment and delivery were the sole responsibility of AMX.

12. The Plaintiffs in the above-captioned litigation claim that the AMX
content included videos of the Plaintiffs engaged in sexually explicit conduct.

13. Pursuant to the terms of the parties’ agreement, AMX is solely responsible
for its content and must indemnify and hold SVOTHI harmless from any claims or
liability arising from such content. The operative language is found in paragraph 8 of the

parties’ contract:

8. Studio agrees to defend, indemnify and hold harmless SVOTHI, its
ISP, affiliates, directors, employees, agents, and subcontractors, against

Page 11 of 13
Case 8:07-cv-00432-JSM-MAP - Document11_ Filed 05/29/07 Page 12 of 15 PagelD 81

any and all allegations, claims, expenses (including reasonable attorney’s

fees and disbursements), liability or suits threatened, made or brought in

relation to or arising from (1) Studio’s creation, distribution or use of its

Content, including but not limited to, any infringement of intellectual

property rights, or (ii) Studio-provided content, or (iii) Studio’s or its End

Users’ violation of Section 1; or (iv) any other acts or missions of Studio

that directly results in property or personal claims attributable to service

outages incurred by SVOTHI or its customers.

14. The Plaintiffs’ claims in this litigation arise solely from the content
provided by AMX and not from any actions or inactions of SVOTHI.

15. Pursuant to the terms of the parties’ agreement, AMX must indemnify
SVOTHI for any and ail damages and attorney’s fees incurred as a result of Plaintiffs’
claims.

16. SVOTHI has retained GARY S. EDINGER and GARY S. EDINGER &
ASSOCIATES, P.A. as its attorneys in this cause and has agreed to pay them a reasonable

fee for their services, which fee AMX must pay pursuant to the parties’ contract.

WHEREFORE, SVOTHI moves for entry of Judgment against AMX for damages
in an amount sufficient to indemnify it for ali damages, costs and attorney's fees

associated with the defense of the action brought by Plaintiffs.

I HEREBY CERTIFY that a true and correct copy of the foregoing pleading was
furnished to MARK STEPHEN HOWARD, Esquire, The Solomon Tropp Law Group,
P.A.,1881 West Kennedy Boulevard, Tampa, Florida 33606-1606; BARRY SCOTT
RICHARD, Esquire, Greenberg Traurig P.A., 101 E. College Ave., P.O. Box 1838
Tallahassee, Florida 32302; CAMILLE GODWIN, Esquire, Cohen, Jayson & Foster,

P.A., 201 E. Kennedy Blvd., Suite 1000, Tampa, Florida 33602; SCOTT WALLACE

Page 12 of 13
Case 8:07-cv-00432-JSM-MAP Document11_ Filed 05/29/07 Page 13 of 15 PagelD 82

CICHON, Esquire, Cobb & Cole, PLLC, 150 Magnolia Ave, P.O. Box 2491, Daytona
Fh
Beach, Florida 32115-2491 via the CM/ECF system and by U.S. Mail, this 27 ~ day of

May, 2007.

GARY S. EDINGER & ASSOCIATES, P.A.

L.A Ly

GARY S. EDINGER, Esqyffe

GSEdinger(@aol.com
Attorney for SVOTHI, INC.

Page 13 of 13
Page 14 of 15 PagelD 83
p.3
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Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07
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Tie 1

THIS Agrsament Is made between SYOTH! Com. (SVOTHI") and Studio effective as of the date below

Studias's signature (‘Effective Date". SVOTHI shail offer Studic’s pay-per-view and oniine sales of Studio's movies of
SVOTHI's websites, 83 mutually agraed upon by both parties, uncer this Agreament, which is incorporated hergin, and
the partiog ate legally bound as follows:

{. Stucics shall have, all intares{ in, responsibility tor, and ownership of, the Studios’ ¢ Conient

SYOTHI agsumes no reaponsibility for the Studio’ s Content or the sarvioss offered by Studio

through 238 of the Service. Any content, material, message or data mada ayartable or trangmitted through the
Service, wherever itis sant fron, viewsd, received, of retrieved, thet is in viotalion of any local, |
stato, fe eral oF intemalional lew, reguiation or trealy; or any accepted community standard or Infamat polley is |
prohibited. This includes, but is not time ed to actions such ag miguse ol copyrighted materials. risgopropiiatcn oF

trade ge stets and other distinguishing marke and use of the Service for datarmatory, thraztering, obsoane or other
unlawfel purposes.

SVOTH or tesarves the right to terminate this Agreement, or suspend Service for urty Violation oF
potentis: viclalion of this Section. Stucke agrees to congant to SVOTHI's necessary entoroement of this Policy.

2. $V¥O' ‘HI and ISP sssume no responsibility, and make no dgime or warrenies regarding
EndUpw recess sscurly, Network access security, or use of encryption
technology, and essumes no responsibility for any joss or damage resulting therefrom.

3. SVO [HI retaing af rights to the Servica, the digitized and ancoded content, and the Equipment unt! such time as
contrac’ is laiminated, then all digitized and encoded rights will revert back to Studio. At no fie shall slucie heave any
ownership, or other rights te tha Service, the digitized and encoded content, or Equipment. Studie acknowledges that It
will no! acquire any interest In, nov file any liens upon, the Equipment or the Global Hosting Center (ISP) as 2 reguit of
éhig Ag oernant of temination for any reason. Svothi agree not te sell or use sludic’s Hites atter termination cf this
BQrBet ian,

4, SVOTH may use Studios’ s name cn 4 atandard customer referral Het. Any prase nulaase oF
other public statement relating to this Agreement, requires the prlor approval o! the other party,

& The ‘Secvios Order Oate" refers to the date SVOTH! receives tis Agreement from Studio

and sterta the implementation process. The "initlai Anniversary Date" refers to the date SVOTH!

notifies the Studlo In writing (&-mall} of the availability of the Service, Any Stucho acts or cyrissions that result én a delay
in Secv 06 plementation may result in SVOTHI 's farmination of this Agresimart.

6 SYCTHI accents, and agrees to pay, at revenue sharing feos described hein. Payment will be mace
monthly (except forthe first month’ s Fees that will be payed won completion of the first month of service, efter the i
«ital Anniversary Date). Payment is due within 30 days after end of month payment cya.

7. This Agreement term {"Tarm*) is effactive upon ihe Efective Dale and stall continue for one (1} yor through the
Services Tan Commitment set forth In the Pricing Specification, with the Servics Term

Comm tment beginning on the initial Anneversary Date of the Service. Uniess terminated by sithar

party €3 provided below, this Agreement wil aulometically renew after the initial Term on a month

to mor th basis, subject to the then applicable agreed upon revenue sharing arrangement, unkass cthendse agreed 17
writing by theparties, Either partly may temrinate this Agreement upon written notices fo the other (1) at the and of :
sithar tre initiat or subsequent Tem, so long a6 nolice is provided thirty (30) days before the and of |
euch tanh. or {2} upon material breach of tha Agreement by the other party, following @ 30 day
cure p wiod, However, SVOTH may suspand or terminate this Agreement immackatary if: #) .
Suidio 9 fillng of a patition in bankruptey, orc) Sludic or ita End-Users violate :
the provisions of Section 1. Any termination oF suapangion dose nol rennove SYOTH? 8 i
respot sibililles to pay ai] Servieg Fees up to the date of suspension of fermination, Customer :
ackno vecgas thet SVOTHI is providing Services in expectation of Sbuctio futfiing its Sarvica

Tar Commitment .

aS TOO
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EXHIBIT "A" -
Case 8:07-cv-00432-JSM-MAP Document11 Filed 05/29/07

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Page 15 of 15 PagelD 84
p.4

8 Studic agrees to devand, indemnity andhcld henuiass SVOTHI, its ISP, alflates,
diractore ernployees, agents end subentrectors, against any and ell allegations, claims,
expenses (including reasoneble attomey’ a feas and digbursements), liability or suits threatened,
made ot brought in ralation to or arising from (i) Studio’ 8 crantion, distripullon or use of is
Content, including, but not timited 10, any inflagement of intebectual proparty rights, oF (i) :
Studion ovided coritant, or (Ii) Studio’ $ or iis End Users’ violation of $action 1) of !

Gy) any other acts of omigsions of Studio that directly reeuits in property oF
parsonat claims attributable to service outages incurred by SVOTH! of its cuatomnars.

9. Wernuritles Excluded. SVOTHI MAKES NO WARRANTIES Ih CONNECTION WITH THIS

SERVICE OR PROVIDED EQUIPMENT (SOFTWARE AND HARDWARE), WHETHER WRITTEN
OR ORL, STATUTORY, EXPRESS OF IMPLIED, INCLUDING WITHOUT LIRITATION ANY
WARRENTY OF MERCHANTABILITY ANDO THE WARRANTY OF FITNESS FOR A

PARTICULAR PURPOSE OR USE.

40. Um tation of Ligbitity. SVOTHI, ISP, ITS AFFILIATES AND THEIR DIRECTORS,
EUAPLO YEES, AGENTS AND SUBCONTRACTORS, SRALL IN HO EVENT BE LIABLE TO
STUDIC: OR ANY OTHER PERSON FOR ANY ACTUAL, DIRECT, INDIRECT,

CONSEQUENTIAL, SPECIAL, INCIDENTAL, REUANCE, PUNITIVE OR ANY OTHER i
DAMAGES, LOST DATA OR COSY OF PROCUREMENT GR SUBSTITUTE SERVICES OR
FOR ANY LOST PROFITS OF ANY KIND OR NATURE WHATSOEVER, REGARDLESS OF
THE FCRESEEABILITY THEREOF, ARISING OUT OF THIS SERVICE, EQUIPMENT CR

NETWORK ACCESS OR IN ANY WAY ARISING OUT OF THIS AGREEMENT, WHETHER IN

ANAC ION ARISING OUT OF BREACH OF CONTRACT, BREACH OF WARRANTY, DELAY,

HEGLISENCE, STRICT TORT LIABLITY, PRODUCT ABILITY, PATENT OR INTELLECTUAL

PROPERTY MATTERS OH ANY OTHER LEGAL

OR EQUITABLE THEORY.

11. This. Agrasment represents the complete agreement and urdarstanding of the parties with
respect to the subject matter herein, and supersadas Sry other agreament or Understanding.
written or oral, to include any communication Satwesn SVOTH! and Studie not get forth In the
documents expressly Incorporatad in thls Agreamant. This Agreement may be

modifies only in witing eigned by both partes, Exeept jor payment obligations, neither party shall
be jiebla for detay in, of fellure of, podonnence hereunder dus io causes beyond its masonatie
sontrol! provided, in the cage of delay, that such party shall give notices to the other party of any
actuai of antieiosted delay, shat! take steps to minimize ary such delay and overcome its effects,
and shall promptly reaume pecformeroe when the cause of such delay ie ramoyed. Neither party
May be i, Tanaler, of aesign this Agreement, except {9 entitles compiataly controlling oF control
by that party, or to entitles aoquiting afl or substantially ail of ite assets. withoul the prior wrilten
consen: of fhe other which corisent anall nol be unreasonably wihheld oF delayed Any actin
derma ion of the foregoing shall be invalid: provided, however, thal sny euch assignment ahail ngt
raliave the assigning perly of its obligatonts haraurider, The Agreement thal! be govertiad by the
substantive low of the State of Hew York without regard to its principles of confilets ot jaw,

and ans legal procesding shall ba brought ectely In

the state or tederal courte in New York County,

New Yurk No ection or procseding egainst SVOTHI may be commenced more inan one yeer aher

the ax mt giving (ise to euch claim.

The partes represent and werrant that they have ful comorate power and suiharlly fo execute this
Agreeriea! and fo perforin their Obligations hereunder, ang thet the person whose signalure afpesis
Belo <6 fully authorized to enter into this Agreement on behalf of tha Customer.

cor sro wane: 22 XVI PLE
SIGNE TURE: ee . ye :
PRINTES NAME/TITLE: ee CP ARE ES EE pate & Zo Of

FOR SVOTHI CORP.:

PRINTED NAME/TITLE.

Date \

